EXHIBIT C-1
Howland, Sarah (NYC)

From:                 Cassandra Stubbs <cstubbs@aclu.org>
Sent:                 Thursday, November 12, 2020 2:38 PM
To:                   Jennifer Merrigan; Delmore, Alycia (SEA); Burgoyne, Robert (WDC); Burgoyne, Robert (WDC);
                      Howland, Sarah (NYC); Hillier, Thomas W. (SEA)
Subject:              FW: Bop prisoner




From: Andrea Woods
Sent: Thursday, November 12, 2020 1:21 PM
To: Cassandra Stubbs <cstubbs@aclu.org>
Subject: FW: Bop prisoner



From: me too <lysalee@gmail.com>
Sent: Thursday, November 5, 2020 9:10 AM
To: Andrea Woods <awoods@aclu.org>
Subject: Bop prisoner

My son asked me to forward you this letter

My name is Ryan smith #53264074. i am an inmate at fci Terre haute IN. i just recently learned of the a.c.l.u and its
purpose after reading the Danbury 2241 motion that was ruled in favor of inmates. Unfortunately i didn't have the
pleasure of reading it in the comfort of my own home but rather trapped in a "medically hostile environment." before i
elaborate any further about the conditions of my environment i would like to inform you that i am a "chronic care"
patient with multiple "pre existing health conditions." I have severe asthma, i am missing a quarter of my right lung from
a serious infection that required 2 surgical procedures. i also have C.O.P.D. my April 2020 chest x‐ray shows hyper
inflated lungs with chronic coarse interstitial markings. i am prescribed mometasone furoate steroid inhaler and also
albuterol for shortness of breath. to make matters worse i have what feels like an inverted hernia that is putting alot of
pressure on my right lung and keeping it from inflating to its full capacity. i have been to medical over 20 times and also
to the hospital on one occasion. i have had the hernia issue since march 16th 2020. the medical staff here at F.C.I. Terre
haute is neglecting to treat me and deliberately dragging me refusing to accommodate me with adequate medical care.
the doctor David Lukens and other medical officers including Mr. Volstroff have all told me that i have to wait until the
pandemic is over before i can get treatment. even the warden Mr. Lammer also assistant warden Mr. emmerich refuse
to even respond to my request for help. the staff is repeatedly using the outbreak here in our unit as well as the whole
pandemic as an excuse not to treat me... but they have denied 2 of my compassionate release requests under the CARES
ACT. i desperately need a surgical procedure. I am expected to work in a dust factory 6 days a week or get a disciplinary
sanction and placed on lockdown. more than 60 inmates have tested positive in my unit. (c‐dorm) and we just came off
of a 60 day quarantine lockdown that is just beyond words... I not only wrote this for myself but also for those who are
incompetent, the helpless, the still suffering, and those who have passed on because prison officials have been and are
also continuing to be deliberately indifferent to the known serious medical needs of inmates with pre‐existing health
conditions. i beg you not to turn your ear from this cry for help. we are literally living in hell! c‐dorm at F.C.I. Terre Haute
alone has more cases than danburry's whole facility. C‐dorm has over 60 positive cases. All of the unit 'orderlies' have
tested positive and continue to serve us our food trays 3 times a day. The orderlies are also the ones that clean the units
communal restroom and showers. we have 6 filthy working toilets. one thats out of order. 4 urinals 2 of which are
stopped up with trash bags over them. we have 10 sinks that are filthy. 3 are out of order. we have 4 soap dispensers
that hardly ever have any soap. we have access occasionally to communal bars of non‐antibacterial soap that are filthy.
we have 8 showers that are very filthy and smell horrible. we have a very bad roach infestation, some roaches are 2 to 3
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inches big. for 2 weeks in October sewer water and toilet paper debris was coming out of tap water faucets. for over 2
weeks during our lockdown officers turned the hot water off to keep inmates from showering and coming out into the
day room area. i have made 2 request to the warden to be removed from this unit and placed somewhere safe. people
who test positive are punished and taken to the S.H.U. special housing unit and placed on administrative lockdown for
10 days then brought right back into the unit without being tested again. (c‐unit) some inmates are forced to live in a cell
with someone who is positive. it is impossible to achieve social distancing in a close quarter environment with
communal soap, showers, and bathroom. our phone privileges and computer e‐mail privileges were taken for over 60
days during our quarantine lockdown. we were told that if we wanted to contact our families that we had to write them
letters. which is very unreasonable considering we are on quarantine lockdown for a covid‐19 outbreak in our dorm. (c‐
dorm) sending our family mail and letters that could very possible be contaminated poses a grave risk to our family
members who have health conditions also to the mail handlers. we only have cloth masks that were made by inmates at
the unicor factory. we don't get the recommended N‐95 mask like officers get. our well being has completely been
neglected. i could go on and on. even though i have tested negative 8 times for covid‐19 the medical staff here at F.C.I
Terre Haute has woefully inadequate number of nasal swab test kits. i stil




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